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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SANDRA ZELNER,                                     )
                                                   )
                     Plaintiff,                    )    Case No. 1:17-cv-08007
                                                   )
       v.                                          )    Honorable Ronald A. Guzman
                                                   )
ATG CREDIT, LLC,                                   )    Magistrate Judge Sidney I. Schenkier
                                                   )
                    Defendant.                     )

                 DEFENDANT’S MOTION FOR ENTRY OF JUDGMENT

        Defendant, ATG Credit, LLC (“ATG”), by and through its attorneys, Gordon Rees Scully

Mansukhani, LLP, and for its Motion for Entry of Judgment against Plaintiff Sandra Zelner states as

follows:

        1.      On February 12, 2019, this Court entered summary judgment in favor of ATG and

against Plaintiff. Dkt. #83.

        2.      On February 21, 2019, ATG filed its Bill of Costs. Dkt. #84.

        3.      On March 26, 2019, this Court entered an Order granting ATG a total award of

$2,170.25 in costs as the prevailing party. Dkt. #87.

        4.      ATG respectfully requests this Court enter a judgment order in the amount of

$2,170.25.

        WHEREFORE, Defendant ATG CREDIT, LLC respectfully requests this Court enter

judgment in favor of ATG CREDIT LLC and against Plaintiff SANDRA ZELNER, in the amount

of $2,170.25, and for any further legal or equitable relief this Court deems just and appropriate.
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Dated: March 27, 2019                  Respectfully submitted,

                                       ATG CREDIT, LLC, Defendant

                                       By: /s/ Avanti D. Bakane
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                                CERTIFICATE OF SERVICE

         I hereby certify that on March 27, 2019, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois, Eastern Division, Defendant ATG Credit, LLC’s
Motion for Entry of Judgment, by using the CM/ECF system, which will send notification of
such filing(s) to:
                                       Attorneys for Plaintiff
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                                             By: /s/ Avanti D. Bakane
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